      Case 4:19-cv-01934 Document 55 Filed on 09/11/20 in TXSD Page 1 of 1
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                      ENTERED
                              UNITED STATES DISTRICT COURT                       September 11, 2020
                               SOUTHERN DISTRICT OF TEXAS                         David J. Bradley, Clerk
                                   HOUSTON DIVISION

FREEDOM FROM RELIGION                              §
FOUNDATION, INC.                                   §
and                                                §
JOHN ROE,                                          §
                                                   §
          Plaintiffs,                              §
VS.                                                §   CIVIL ACTION NO. 4:19-CV-01934
                                                   §
WAYNE MACK, in his personal capacity and §
in his official capacity on behalf of the State of §
Texas,                                             §
                                                   §
         Defendant.                                §

             ORDER ON JOINT MOTION TO EXTEND CASE DEADLINES

       Considering the parties’ joint motion to extend case deadlines (Dkt. No. 54), it is

ORDERED that the motion is GRANTED.

       IT IS THEREFORE ORDERED that this Court’s July 6, 2020 scheduling order (ECF 53)

is hereby amended, with new deadlines set as follows:

       Discovery to be completed by:                              October 31, 2020
       Dispositive motions due by:                                December 18, 2020
       Oppositions to dispositive motions due by:                 January 18, 2021
       Replies in support of dispositive motions due by:          February 1, 2021
       Docket call to be held at 11:30 AM on:                     April 5, 2021

       It is so ORDERED.

       SIGNED on this 11th day of September, 2020.



                                                   ___________________________________
                                                   Kenneth M. Hoyt
                                                   United States District Judge




1/1
